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  EXHIBIT PP
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Receipt Number                                                                  Case Type
IOE9860752626                                                                   I765 - APPLICATION FOR EMPLOYMENT AUTHORIZATION
Received Date                           Priority Date                           Applicant
03/21/2025                                                                      GORRELA, LIKHITH BABU
Notice Date                             Page
03/21/2025                              1 of 2
  GORRELA, LIKHITH BABU
  c/o RIVIER UNIVERSITY                                                                            Notice Type: Receipt Notice
  420 S MAIN ST                                                                                    Amount received: $470.00 U.S.
  NASHUA NH 03060-5042                                                                             Class requested: C03B



We have received the application or petition ("your case") listed above. This notice only shows that your case was filed on the "Received Date"
listed above. It does NOT grant you any immigration status or immigration benefit, and it is not evidence that your case is still pending. We will notify you
in writing when we make a decision on your case or if we need additional information.
Please save this and any other notices about your case for your records. You should also keep copies of anything you send us, as well as proof of delivery.
Have these records available when you contact us about your case.
If any of the information in your notice is incorrect or you have any questions about your case, you can connect with the USCIS Contact Center at
www.uscis.gov/contactcenter or ask about your case online at www.uscis.gov/e-request. You will need your Alien Registration Number (A-Number) and/or
the receipt number shown above.
You can receive updates on your case by visiting www.uscis.gov/casestatus to get the latest status or you can create an account at my.uscis.gov/account and
receive email updates for your case.
If you filed to renew your Employment Authorization Document (EAD) under category A03, A05, A07, A08, A10, A12, A17, A18, C08, C09, C10, C16,
C19, C20, C22, C24, C26, or C31, you might be eligible for an automatic extension of your EAD. Full details and an eligibility calculator are at uscis.gov/
eadautoextend.
You qualify for an automatic extension if:
    • The category on your current EAD matches the "Class Requested" listed on this notice; and
    • The "Received Date" on this notice is before the "Card Expires" date on your EAD.
If you filed under the A12 or C19 classifications, you qualify for an automatic extension if:
     • This notice and your expired EAD contain either A12 or C19 (they do not need to match); and
     • You filed your renewal Form I-765 during the TPS re-registration period indicated in the applicable Federal Register notice for your country found
        at uscis.gov/tps.
If you are eligible for an automatic extension of your EAD, you can show this notice with your expired EAD to your employer for employment eligibility
verification (Form I-9) purposes. The automatic extension is for up to 540 days from the expiration date printed on the front of your EAD. If we deny
your renewal application, the automatic extension immediately ends, and you can no longer use this notice for Form I-9 purposes. If your EAD is also
your Advance Parole document, the automatic extension does not apply to Advance Parole. This notice, by itself, does not grant any immigration status or
benefit, nor is it evidence that this renewal application is still pending.
If you are applying to renew your A17, A18, or C26 employment authorization and you are relying upon the automatic extension to demonstrate your
employment authorization during the automatic extension period, you must show: (1) this receipt notice; (2) an unexpired Form I-94, Arrival-Departure
Record, showing valid E, L-2, or H-4 status; and (3) your A17, A18, or C26 EAD that matches the category on this receipt notice. Your automatic extension
ends on the earliest of: the end date on your I-94; the date we adjudicate this renewal application; or 540 days after the expiration date on your EAD.
Processing time - Processing times vary by form type.
      • Visit www.uscis.gov/processingtimes to see the current processing times by form type and field office or service center.
      • If you do not receive an initial decision or update within our current processing time, you can try our online tools available at www.uscis.gov/tools
        or ask about your case online at www.uscis.gov/e-request.
      • When we make a decision on your case or if we need something from you, we will notify you by mail and update our systems.

Biometrics - We require biometrics (fingerprints, a photo, and a signature) for some types of cases. If we need biometrics from you, we will send you a
SEPARATE appointment notice with a specific date, time and place for you to go to a USCIS Application Support Center (ASC) for biometrics processing.


Please see the additional information on the back. You will be notified separately about any other cases you filed.
USCIS encourages you to sign up for a USCIS online account. To learn more about creating an account and the benefits, go to https://
www.uscis.gov/file-online.
USCIS TSC
U.S. CITIZENSHIP & IMMIGRATION SVC
6046 N Belt Line Rd. STE 114
Irving TX 75038-0015
USCIS Contact Center: www.uscis.gov/contactcenter
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Receipt Number                                                                Case Type
IOE9860752626                                                                 I765 - APPLICATION FOR EMPLOYMENT AUTHORIZATION
Received Date                           Priority Date                         Applicant
03/21/2025                                                                    GORRELA, LIKHITH BABU
Notice Date                             Page
03/21/2025                              2 of 2
 You must wait for that separate appointment notice and take it (NOT this receipt notice) to your ASC appointment along with your photo identification.
 Acceptable kinds of photo identification are:
      •   A passport or national photo ID issued by your country,
      •   A driver's license,
      •   A military photo ID, or
      •   A state-issued photo ID card.
If you receive more than one ASC appointment notice (even for different cases), take them both to the first appointment date.
If your address changes - If you move while your case is pending, please visit www.uscis.gov/addresschange for information on how to update your
address. Remember to update your address for all your receipt numbers.
Return of Original Documents - Use Form G-884, Request for the Return of Original Documents, to request the return of original documents submitted to
establish eligibility for an immigration or citizenship benefit. You only need to submit one Form G-884 if you are requesting multiple documents contained
in a single USCIS file. However, if the requested documentation is in more than one USCIS file, you must submit a separate request for each file. (For
example: If you wish to obtain your mother's birth certificate and your mother's/father's marriage certificate, both of which are in the USCIS file that
pertains to her, submit one Form G-884 with your mother's information.)
NOTICE: The information you provide on and in support of applications and petitions is submitted under the penalty of perjury. USCIS and the U.S.
Department of Homeland Security reserve the right to verify this information before and/or after making a decision on your case so we can ensure that you
have complied with applicable laws, rules, regulations, and other legal authorities. We may review public information and records, contact others by mail,
the internet or phone, conduct site inspections of businesses and residences, or use other methods of verification. We will use the information obtained
to determine whether you are eligible for the benefit you seek. If we find any derogatory information, we will follow the law in determining whether to
provide you (and the legal representative listed on your Form G-28, if you submitted one) an opportunity to address that information before we make a
formal decision on your case or start proceedings.




Please see the additional information on the back. You will be notified separately about any other cases you filed.
USCIS encourages you to sign up for a USCIS online account. To learn more about creating an account and the benefits, go to https://
www.uscis.gov/file-online.
USCIS TSC
U.S. CITIZENSHIP & IMMIGRATION SVC
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   Department of Homeland Security                                                          1-20, Certificate of Eligibility for Nonimmigrant Student Status
   U.S. Immigration and Customs Enforcement                                                 0MB NO. 1653-0038

   SEVIS ID:
   SURNAME/PRIMARY NAI\IE                                                                  GIVEN NAME                                          Clau of Admlulon




                                                                                                                                                   F-1
    Gorrela                                                                                Likhith
   PREFERRED NAME                                                                          PASSPORT NAM�:
    Likhith Gorrela
    COUNTRY OF BIRTH                                                                       COUNTRY OF CITIZENSHIP
    INDIA                                                                                  INDIA
   CITY OF BIRTH                                                                           DATE OF BIRTH
                                                                                           27 NOVEMBER 2001
                                                                                                                                                  ACADEMIC AND
   FORM ISSUE REASON                                                                       ADMISSION NUMBER                                        LANGUAGE
   CONTINUED ATTENDANCE
   SCHOOL INFORMATION
   SCHOOL NAME                                                                              SCHOOL ADDRESS
   Rivier University                                                                        420 South Main Street, Nashua, NH 03060
   Rivier University
   SCHOOL OFFICIAL TO CONT ACT UPON ARRIVAL                                                 SCHOOL CODE AND APPROVAL DATE
   Hannah Dumont                                                                            BOS214F00422000
   SEVIS Coordinator                                                                        06 AUGUST 2002
   PROGRAM OF STUDY
   EDUCATION LEVEL                                           MAJOR I                                                 MAJOR2
   MASTER'S                                                  Computer and Information Sciences,                      None 00.0000
                                                             General 11.0101
   PROGRAM ENGLISH PROFICIENCY                               ENGLISH PROFICIENCY NOTES                               EARLIEST ADMISSION DATE
   Required                                                  Student is proficient
   START OF CLASSES                                          PROGRAM START/END DATE
   05 SEPTEMBER 2023                                         05 SEPTEMBER 2023 - 20 MAY 2025
   FINANCIALS
    ESTIMATED AVERAGE COSTS FOR: 12 MONTHS                                                  STUDENT'S FUNDING FOR: 12 MONTHS
   Tuition and Fees                                                $        17,928          Personal Funds                                             $             0
   Living Expenses                                                 $        14,400          Funds From This School                                     $             0
   Expenses of Dependents (0)                                      $             0          Family                                                     $        36,328
   Books, fees, insurance                                          $         4,000          On-Campus Employment                                       $             0
   TOTAL                                                          $        36,328           TOTAL                                                      $        36,328

   REMARKS




   SCHOOL ATTESTATION
                                                                                                                                   rr
   I certify under penalty ofperjury that all information provided above was entered before I signed this form and is true and co ect. I executed this form in the United
   States after review and evaluation in the United States by me or other officials ofthe school ofthe student's application, transcripts, or other records of courses taken
   and proofoffinancial responsibility, which were received at the school prior to the execution ofthis form. The school has determined that the above named student's
                                                                                                                              study as defined by 8 CFR 214.2(f)(6). I am a
   qualifi tions meet all standards for admission to the school and the student will be required to pursue a full program of
   de ·        s h     ffi al the above named school and am authorized to issue this form.
   X                                                                                      DATE ISSUED                                   PLACE ISSUED
                                               SEVIS Coordinator                          17 March 2025                                 Nashua,NH

   STUDENT ATTESTATION
   I have read and agreed to comply with the terms and conditions ofmy admission and those ofany extension ofstay. I certify that all information provided on this fom1
   refers specifically to me and is true and correct to the best ofmy knowledge. I certify that I seek lo enler or remain in the United States temporarily, and solely for the
   purpose ofpursuing a full program ofstudy at the school named above. I also authorize the named school lo release any infonnation from my records needed by DHS
                        f
   pursuant t � CFR 21 3(g�etermine my nonimmigranl status. Parent or guardian, and student, must sign If student Is under 18.

   X      ( /v A                                                                                                       c.=.______
                                                                                                         -=-..,../�7_-=;ic-
                                                                                                         :f-
   SIGNATURE OF: Likhith Gorrela                                                                           DATE
                                                       X
   NAME OF PARENT OR GUARDIAN                          SIGNATURE                                           ADDRESS (city/state or provlnce/counlr)')           DATE




   ICE Form 1-20 (11/30/2025)                                                                                                                                 Pagel of 3

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 Department of Homeland Security                                                       1-20, Ccrtiliculc of Eligibility for Nonimmigrant Student Status
 U.S. Immigration and Customs Enforcement                                              0MB NO. 1653-0031!

  SEVIS ID:                                          (F-1)                             NAME: Likhith Gorrela
  EMPLOYMENT AUTHORIZATIONS
  TYPE                                                     FULL/PART-TIM�:          STATUS                   START DATE                    END DATF:
  POST-COMPLETION OPT                                      FULL TIME                REQUESTED                08 JULY 2025                  07 JULY 2026


 CHANGE OF STATUS/CAP-GAP EXTENSION


 AUTHORIZED REDUCED COURSE LOAD


 CURRENT SESSION DATES
  CURRENT SESSION ST ART DATE                                                        CURRENT SESSION END DATE
  13 JANUARY 2025                                                                    02 MAY 2025
 TRAVEL ENDORSEMENT
 This page. when properly endorsed, may be used for re-entry of the student to attend the same school after a temporary absence from the United States. Each
 endorsement is valid for one year.
  Designated School Official          TITLE                            SIGNATURE                               DATE ISSUED               PLACE ISSUED

                                                                       X

                                                                       X

                                                                       X

                                                                       X




ICE Form 1-20 (11/30/2025)                                                                                                                           Page 2 of 3
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 Department of Homeland Security                                                          1-20, Certificate ofEligibility for Nonimmigrant Student Status
 U.S.•lmmigration and Customs Enforcement                                                 0MB NO. 1653-0038

  INSTRUCTIONS TO STUDENTS                                                                NOTICE o•· ADDRESS. When you arrive in the United Stares, you must
                                                                                          report your U.S. address to your DSO. If you move, you must notify your DSO
                                                                                          of your new address within IO days of the change of address. The DSO will
  STUDENT ATTESTATION. You should read everything on this page
                                                                                          update SEVIS with your new address.
  carcful!Y· Be sure t�at you u�derstand the terms and conditions concerning your
  adm1ss1on and stay_m the United States as a nonimmigrant student before signing
  the sn:dent attestat �on on page I of the Form 1-20 A-B. The law provides severe        REENTRY. F-1 students may leave the United States and return within a
  penalnes for knowingly a�d willfully falsifying or concealing a material fact. or       period of fi ve months.To return, you must have: I) a valid passport; 2) a valid F­
                                                                                                       _
  using any false document m the submission of this form.                                  l student visa (unless you are exempt from visa requirements); and 3) your Form
                                                                                          1-20, page 2, properly endorsed for reentry by your DSO. If you have been out of
                                                                                          the United States for more than five months, contact your DSO
  FORM 1-20. The Foi:m 1-20 (this form) is the primary document to show that
  you h�vc been admitted t o � chool in th � United States and that you are
                             _                                                           AUTHORIZATION TO RELEASE INFORMATION BY SCHOOL. DHS
  authonzed to apply for adm1ss1on to the United St.ates in F-1 class of admission.
  You must have your Form 1-20 with you at all times. If you lose your Form 1-20         requires your school to provide DHS with your name, country of birth, current
  you must request a new one from your designated school official (DSO) at the·          address, immigration status, and certain other information on a regular basis or
  school named on your Form 1-20.                                                        upon request. Your signature on the Form 1-20 authorizes the named school ro
                                                                                         release such information from your records.
  VISA APPLIC ATION. You must give this Form 1-20 to the U.S. consular
                   _                                                                     PENALTY. To maintain your nonimmigranl student status. you must: I)
  officcr at the time you apply for a visa (unless you arc exempt from visa
        _                                                                                remain a full-time student at your authorized school; 2) engage only in
  requirements). If you have a Form 1-20 from more than one school be sure to
  present the Form 1-20 for the school you plan to attend. Your visa ;ill include        authorized employment; and 3) keep your passport valid. Failure to comply wirh
  the_ name of that school, and you must attend that school upon entering the            these regulations will result in the loss of your student status and subject you to
  Unit�d St.ates. You must also provide evidence of support for tuition and fees         deportation.
          .
  and hvmg expenses while you are in the United St.ates.
                                                                                         INSTRUCTIONS TO SCHOOLS

  ADM�SSION. When you enter the United States, you must present the
  follo �mg documents to the officer at the port of entry: I) a Form 1-20; 2) a valid     Failure to comply with 8 CFR 21 4.3(k) and 8 CFR 214.4 when issuing Forms 1-
  F-1 v!sa(unlcss you arc exem pt from visa requirements); 3) a valid passport; and      20 will subject you and your school to criminal prosecution. If you issue this
                                                                                         form improperly, provide false information, or fail to submit required reports,
  4) cv1d cnce of support for tuition and fees and living expenses while you arc in
          _                                                                              DHS may withdraw its certification of your school for attendance by
  the �nited St.ates. The agent should return all documents to you before you leave
             _                                                                           nonimmigrant students.
  the mspcctaon area.

 REPORT TO SCHOOL NAMED ON YOUR FORM 1-20 AND VISA.                                      ISSUANCE OF FORM 1-20.                DSOs may issue a Form 1-20 for any
                                                                                        nonimmigrant your school has accepted for a full course of study if that person:
  Upon your first entry to the United States, you must report to the DSO at the
                                                                                         I) plans to apply to enter the United States in F-1 status; 2) is in the United
 school named on your Form 1-20 and your F-1 visa (unless you arc exempt from
                                                                                        Stales as an F-1 nonimmigranl and plans to transfer to your school; or 3) is in the
 visa requirements). If you decide to attend another school before you enter the
                                                                                        United St.ates and will apply to change nonimmigrant status to F-1. DSOs may
 United States, you must present a Form 1-20 from the new school to a U.S.
                                                                                        also issue the Form 1-20 to the spouse or child (under the age of 21) of an F-1
 consular officer for a new F-1 visa that names the new school. Failure to enroll
                                                                                        student to use to enter or remain in the United States as an F-2 dependent. DSOs
 in lhc school, by the program start date on your Form 1-20 may result in the loss
                                                                                        must sign where indicated at the bottom of page I of the Form 1-20 to attest that
 of your student status and subject you to deportation.
                                                                                        the form is completed and issued in accordance with regulations.

 EMPLOYMENT. Unlawful employment in the United States is a reason for
                                                                                        ENDORSEMENT OF PAGE 2 FOR REENTRY. If there have been no
 terminating your F-1 status and deporting you from the United States. You may          substantive changes in information, DSOs may endorse page 2 of the Form 1-20
 be employed on campus at your school. You may be employed off-campus in                for the student and/or the F-2 dependents to reenter the United Stales. If there
 curricular practical training (CPT) if you have written permission from your           have been substantive changes, the DSO should issue and sign a new Form 1-20
 DSO. You may apply to U.S. Citizenship and Immigration Services (USCIS) for            that includes those changes.
 off-campus employment authorization in three circumstances: I) employment
 with an international organization; 2) severe and unexpected economic hardship;
 and 3) optional practical training (OPT) related to your degree. You must have         RECORDKEEPING. DHS may request information concerning the student's
 written authorization from USCIS before you begin worlc. Contact your DSO for          immigration status for various reasons. DSOs should retain all evidence of
 details. Your spouse or child (F-2 classification) may not work in the United          academic ability and financial resources on which admission was based. until
 States                                                                                 SEVIS shows the student's record completed or terminated.


PERIOD OF STAY. You may remain in the United States while taking a full                 AUTHORIT � FOR COLLE�TING INFORMATION. Authority for
                                                                                                                 _
course of study or during authorized employment after your program. F-1 status          collcctmg the mformallon on this and related student forms is contained in 8
ends and you arc required to leave the United States on the earliest of the             U.S.C. 1101 and 1184. The Department of State and DHS use this information to
following dates: I) the program end date on your Form 1-20 plus 60 days; 2) the         determine eligibility for the benefits requested.The law provides severe penalties
end date of your OPT plus 60 days; or 3) the termination of your program for            for knowingly and willfully falsifying or concealing a material fact, or using any
any other reason. Contact your DSO for details.                                         false document in the submission of this form.


EXTENSION OF PROGRAM. If you cannot complete the education program                      REPORTING BURDEN. U.S. immigration and Customs Enforcement collects
by the program end date on page I of your Form 1-20, you should contact your            this information as part of its agency mission under the Department of H omcland
DSO at least I 5 days before the program end date to request an extension.              Security. The estimated average time to review the instructions. search existing
                                                                                        data sources, gather and maintain the needed data, and complete and review the
                                                                                        collection of information is 30 minutes (.50 hours) per response. An agency may
SCHOOL TRANS•'ER. To transfer schools, first notify the DSO at the school               not conduct or sponsor, and a person is not required to respond to an information
you arc attending of your plan to transfer, then obtain a Forni 1-20 from the DSO       collection unless a form displays a currently valid 0MB Control number. Send
at the school you plan to attend. Return the Form 1-20 for the new school to the        comments regarding this burden estimate or any other aspect of this collection of
DSO at that school within I 5 days after begiMing attendance at the new school.         information, including suggestions for reducing this burden, to: Office of the
The DSO will then report the transfer to the Department of Homeland Security            Chief Information Officer/Forms Management Branch, U.S. Immigration and
(DHS). You must enroll in the new school at the next session start date. The            Customs Enforcement. 801 I Street NW Stop 5800, Washington. DC 20536-
DSO at the new school must update your registration in SEVIS.
                                                                                        5800. Do not send the form to this address.




ICE Form 1-20 (11/30/2025)                                                                                                                                Page 3 of 3
